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1    DANIEL BRODERICK, Bar #89424
     Federal Defender
2    CARO MARKS, Bar #159267
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     DANIEL WACKERMAN
6
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )     No. Cr-S-07-120 EJG
11                                   )
                    Plaintiff,       )
12                                   )     NOTICE OF HEARING
          v.                         )          and ORDER THEREON
13                                   )
     DANIEL WACKERMAN,               )     Date: June 27, 2008
14                                   )     Time: 10:00 a.m.
                    Defendant.       )     Judge: Edward J. Garcia
15                                   )
     _______________________________ )
16
17        The current presentence report schedule and judgment and
18   sentencing date of March 14, 20087 is vacated and a new J&S date of
19   June 27, 2008 is hereby set.      Below is the new PSR schedule.
20        Draft PSR due:                     5/23/08
          Written objections due:            6/06/08
21        PSR to be filed w/court:           6/13/08
          Motion for correction due:         6/20/08
22        J&S:                               6/27/08
23        The defendant seeks a sentence under section 5K of the sentencing
24   guidelines, and both parties request this additional time to develop
25   certain sentencing aspects of his case. Both parties support this
26   request for a continuance. Probation has been notified and does not
27   object.   The courtroom clerk has been notified. The defendant is under
28   pretrial services supervision and is in compliance with his conditions
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1    of release.
2
3    Dated: March 10, 2008                  Respectfully submitted,
4
                                            DANIEL BRODERICK
5                                           Federal Defender
6                                           /s/ Caro Marks
                                            ________________________________
7                                           CARO MARKS
                                            Assistant Federal Defender
8                                           Attorney for Defendant
                                            DANIEL WACKERMAN
9
10
11       IT IS SO ORDERED, March 13, 2008.
12
                                            /s/ Edward J. Garcia
13                                          EDWARD J. GARCIA
                                            SENIOR U.S. DISTRICT JUDGE
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